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UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS



 PSARA ENERGY, LTD.,                                §
                                                    §
                  Plaintiff,                        §
                                                    §
 versus                                             §        CIVIL ACTION NO. 1:18-CV-00178
                                                    §
 SPACE SHIPPING, LTD., GEDEN                        §
 HOLDINGS, LTD., ADVANTAGE                          §
 ARROW SHIPPING, LLC, GENEL                         §
 DENIZCILIK NAKLIYATI A.S.,                         §
 ADVANTAGE TANKERS, LLC,                            §
 ADVANTAGE HOLDINGS, LLC,                           §
 FORWARD HOLDINGS, LLC, MEHMET                      §
 EMIN KARAMEHMET, GULSUN NAZLI                      §
 KARAMEHMET-WILLIAMS, TUGRUL                        §
 TOKGOZ, ADVANTAGE START                            §
 SHIPPING, LLC,                                     §
                                                    §
                  Defendants.                       §



                                     ORDER OF DISMISSAL

          Pending before the court is the Plaintiff’s “Notice of Voluntary Dismissal.” Doc. No. 90.

The parties have reached a settlement agreement.

          Accordingly, the above case is DISMISSED WITH PREJUDICE with each party to bear

its own costs of court. The court retains jurisdiction to enforce any settlement. The Clerk is

directed to close the case and deny all pending motions as moot.
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       It is further ORDERED that the bonds paid into the registry of the court as security for

Plaintiff’s claims (Doc. No. 24) are to be released to the parties entitled to return of the same.

       THIS IS A FINAL JUDGMENT.


        SIGNED at Beaumont, Texas, this 10th day of February, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
